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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                              Case No. 15-20035-JWL


Bryce D. Draper,

                     Defendant.

                                  MEMORANDUM AND ORDER

       In June 2020, the court revoked the defendant’s supervised release after finding the

defendant in violation of the terms of his supervised release. The court sentenced the defendant

to 21 months imprisonment. Recently, defendant filed a motion for immediate release; a motion

for an extension of time to file a reply to the government’s response to that motion; and a motion

for leave to file an amended emergency motion for immediate release. In light of defendant’s

stated desire to file an amended motion for immediate release, the court mooted the motion for

immediate release and the motion for extension of time to file a reply. Defendant has not yet filed

his amended motion for immediate release.

       Now, defendant has filed a “motion for interlocutory order and cease and desist order”

(doc. 133) in which he seems to seek clarification of the court’s prior rulings. To be clear, the

court did not order the immediate release of defendant. Rather, the court simply ordered that

defendant could file, as requested, an amended motion seeking immediate release. To the extent

defendant seeks any other relief in his motion, defendant does not any identify any basis to support

the court’s jurisdiction over the motion and, accordingly, it is dismissed for that reason. See
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United States v. Benitez, 720 Fed. Appx. 509 (10th Cir. Apr. 24, 2018) (movant has burden of

establishing jurisdiction over motions in closed criminal case).

       Defendant has also filed a motion “to support motion to null and void power of attorney

form” (doc. 134) which is largely unintelligible. In this motion, defendant has placed his name in

the caption as the plaintiff and “Janel Renee Newton” as the defendant. Defendant indicates that

he has been the victim of identify theft and seems to want some action taken with respect to a

marriage certificate or a power of attorney executed by him in 2015. This motion is dismissed for

lack of jurisdiction. To the extent defendant wishes to pursue any of the allegations he has set

forth in the motion, he would need to file a new civil case.



       IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s “motion for

interlocutory order and cease and desist order” (doc. 133) is granted to the limited extent that the

court has clarified its prior rulings and is otherwise dismissed for lack of jurisdiction; and

defendant’s motion “to support motion to null and void power of attorney form” (doc. 134) is

dismissed for lack of jurisdiction.



       IT IS SO ORDERED.



       Dated this 21st day of October, 2020, at Kansas City, Kansas.



                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge

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